          Case 1:19-cv-01796-PEC Document 232 Filed 10/13/20 Page 1 of 3




           In the United States Court of Federal Claims
                                        No. 19-1796C

                                 (E-filed: October 13, 2020)

                                             )
    AMAZON WEB SERVICES, INC.,               )
                                             )
               Plaintiff,                    )
                                             )
    v.                                       )
                                             )
    THE UNITED STATES,                       )
                                             )
               Defendant,                    )
                                             )
    and                                      )
                                             )
    MICROSOFT CORP.,                         )
                                             )
               Intervenor-defendant.         )
                                             )

                                           ORDER

        Currently before the court are defendant’s unopposed motion to complete the
administrative record (AR) 1 and to correct the AR, ECF No. 230; and, the parties’ joint
status report, ECF No. 231, both filed on October 12, 2020. The court shall address each
filing in turn.

       Defendant attached to its unopposed motion the documents “generated during the
debriefing” process which ended on October 9, 2020 that it requests to file to complete
the AR. See ECF No. 230; ECF No. 230-3. Those documents are heavily redacted
despite being filed under seal. See id. The court will not file redacted documents as part
of the AR absent a sufficient explanation, and defendant’s motion does not offer any
reason for the redactions. As such, defendant’s motion is denied in part as to its request

1
       In the court’s September 28, 2020 order, it directed defendant to file a motion to
complete the administrative record (AR). See ECF No. 228. The clerk’s office has informed
chambers that this motion should be filed as a motion to supplement the AR, rather than a motion
to complete the AR.
        Case 1:19-cv-01796-PEC Document 232 Filed 10/13/20 Page 2 of 3




to supplement the AR, and defendant may file a renewed motion to supplement attaching
unredacted copies of the proposed AR documents.

      Defendant also seeks leave to file corrected versions of two sections of the AR—
Tabs 665 and 681—to address formatting issues with the originally filed versions. See
ECF No. 230 at 2. The court will grant this part of defendant’s motion, but will not direct
defendant to file the corrected AR Tabs until it rules on its renewed motion to complete
the AR.

        Pursuant to the court’s September 28, 2020 order, the parties also filed a joint
status report. See ECF 231. Therein, the parties offer an expedited schedule for the
resolution of this bid protest matter. The parties’ proposed briefing schedule includes
deadlines for filing: (1) an amended complaint, (2) renewed motions to dismiss, (3)
plaintiff’s renewed motion to complete and/or supplement the AR and for discovery, (4)
motions for judgment on the AR, and (5) discovery, if needed. See id. at 2-3. The court
appreciates the parties’ efforts to confer and agree upon a proposed schedule to resolve
this matter. In the interest of proper case management and the efficient use of judicial
resources, however, the court will resolve motions to dismiss before setting a briefing
schedule to address plaintiff’s renewed motion to complete and/or supplement the AR
and for discovery, or motions for judgment on the AR.

       Accordingly:

       (1)    Defendant’s unopposed motion to complete the AR, ECF No. 230, is
              DENIED in part as to the request to complete the AR, and GRANTED in
              part as to the request to correct the AR;

       (2)    On or before October 15, 2020, defendant is directed to FILE a motion to
              supplement the AR attaching unredacted copies of the documents it
              proposes to add to the AR;

       (3)    On or before October 23, 2020, plaintiff shall FILE its amended
              complaint;

       (4)    On or before November 6, 2020, defendant and intervenor-defendant are
              directed to FILE their renewed motions to dismiss;

       (5)    On or before November 20, 2020, plaintiff shall FILE its response to the
              renewed motions to dismiss; and

       (6)    On or before December 1, 2020, the defendant and intervenor-defendant
              shall FILE their replies in support of their renewed motions to dismiss.


                                            2
 Case 1:19-cv-01796-PEC Document 232 Filed 10/13/20 Page 3 of 3




IT IS SO ORDERED.


                                   s/Patricia E. Campbell-Smith
                                   PATRICIA E. CAMPBELL-SMITH
                                   Judge




                               3
